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x @ Cyclops Tattoo x ff) Sweet cicely Daniher(@ ™ © Arcamuziv. Continental & vangelis- Google Search x New Tab

   
  
   

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: think Pixar Disney stole the Vanicorn

for their movie onward ????
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om super_acg Did they give you hand
drawn artwork of Pixar
characters?

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